 

mean Case 2:OO-Cr-20122-BBD Document 84 Filed 07/20/05 Page 1 of 5 Page|D
in .3/ss)

ev UNITED STATES DISTRICT COURT Fll.ED BY mi D,c,

for
wEsTERN nlsrRICr 0F TENNESSEE 05 JUI_ 20 AH 6: us
WESTERN DIVISI()N
ligin lt GOULD

u.s.A.vs. wYN'rA EARNEST OOZ.O/ZZ- noeleF-R§(

  

Petition on Probation and Snpervised Release

C()MES NOW FREDDIE MCMASTER H PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of W§gt_a Earnest who was placed on supervision by the Honorable
Bmde.DooddsitdngwmeCommMmdmmdayof§_emk_r,lml who iixedtheperiod
ofsupervisionatthree(fi[y@ar§*,andimposedthegeneraltem'sandeonditionsthexetofmeadowdbytheeomt
and also imposed special conditions and terms as follows:
The defendant shall pay $29,980. 19 restitution (balanee $29,980.19).
The defendant shall seek and maintain employment
The defendant shall provide full-financial disclosure to the Probation Oliee.

Modifled April 22, 2003, to include participation in mental health treatment and drug and alcohol testing and
treatment as directed by the Probation OHice.

*'I`erm of Supervised Release began March 22, 2003, was revoked Oetober 22, 2004, with a sentence of time served
with a new one (l) year term of Supervised Release with the following additional condition:

The defendant shall serve six (6) months in a halfway house

*New term of Supervised Release that began October 22, 2004, was revoked April 18, 2005, with a sentence of time
served and a new term of eight (8) months Supervised Release with the following special condition:

The defendant shall serve eight (8) months in a halfway house.
RESPECI'FULLY PRESENTING PETITION FOR AC"I`ION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE AT'I`ACHED)

PRA¥ING THAT THE COURT WILL ORDER a Sumrnons be issued for Ms. Eamest to appear before the
Honorable Bernice B. Donald to answer charges of violation of Supervised Release.

 

oRnER 0F CoURT 1 claim under penalty Of peger that the foregoing
4,,_ is true and correct
Considered and tendered this ga day
l 1 Executed 0%_£)_§`0_9;'
r %‘ 1
U.S. Probation Ofiicer
Pla°ef _M_e_mpm.'_l`e_nn.e¢£
This document entered on the docket sheet in compliance fe/
with Flu|e 55 and}ot 32(b) FHCrP on '

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Earnest, Wynta
Docket No. 2:00CR20122-001

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OP SUPERVISED RELEASE:

The defendant shall serve eight (8) months in a halfway house.

Ms. Eamest began her initial six (6) month period of community confinement at the Diersen Charities Halfway
House in Memphis on December 15, 2004. Following a revocation hearing before Your Honor on April 18, 2005,

she was to remain in the facility for eight (8) months with a completion date of December 17, 2005. She was
discharged on June 29, 2005, due to non-compliance

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1. Defendant W__vllta Eamest 1537 David Mengp_l_lis. TN 381 14
2. Docket Number (Year-Sequence-Defendant No.) 2:00CR20122-001
3. District/Office Westem Distn`ct of Termessee (Mempgsi
4. Original Sentence Date 09 17 01
month day year
(Ifdzjerent than above):

5. Original District/Ofiice

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {_s§ §7B1.1}:

 

 

 

 

 

Violation s w
Failurc to complete 8 months community confinement C
8. Most Serious Grade of Violation (_W §7Bl.l(b} C
9. Criminal History Category (E §7B1.4(a))74 III

10- Range ofimpnsonmem(n=; §1131.4@))

*Being originally convicted of s Cilss D felony and having served 53 days on n previous revocation sentence, the statutory maximum term of
imprisonment is 22 months 7 days; 18 U.S.C. §3583(¢)(3}.
l 1. Sentencing Options for Grade B and C violations Oniy (Check the appropriate box):

{X} (a)If the minimum tenn of imprisonment determined under §7Bl .4(Terrn of lmprisonment) is at least one month
but not more than six months, §7B1.3(c) (l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7Bl.4(Term of lmprisonment) is more than six
months but not more than ten months, §7Bl.3(c) (2) provides sentencing options to imprisonment

{ } (c)If the minimum term of imprisonment determined under §’IBl .4(Term of Imprisonment) is more than ten

months, no sentencing options to imprisonment are available

Mail documents to: Unitcd States sentencing Commission, 1331 Pennsy|vania Avcnuc, N.W.
Suite 1400, Washington, D.C., 20004, Attcntion: Monitoring Unit

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Defendant Wynta Eamest Docket #2:00CR20122-001 age 4 Of 5 Page|D 118

12. Unsatisfied Conditions of Original Sentence

List any restitution, tine, community continement, horne detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {_;se§_ §TBl .3(d)}:

 

 

 

 

Restitution ($) $29,980.19 Community Conf\nement 168 days
Fine ($) N/A Home Detention N/A
Other N/A Intermittent Continement N/A

 

 

13. Superviscd Releasc

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SDI . l- 1 .3 {s_e_e_

§§751-3(§)(1)}-

Term: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {ie§ 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.
Period of supervised release to be served following release from imprisonment

14. Departurc

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

Pursuant to §7Bl.3(d) any community confinement previously imposed that remains unserved at the time of
revocation may be served in addition to the sanction determined under §7Bl.4. Thus, the adjusted range, takng

into account the unserved Community Continement, would be approximately 11-17 months.

 

 

 

 

 

 

 

15. Official Detention Adjustmcnt w §7B1.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attcntion: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
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July 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

